

People v Patterson (2023 NY Slip Op 02069)





People v Patterson


2023 NY Slip Op 02069


Decided on April 20, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 20, 2023

Before: Oing, J.P., González, Shulman, Higgitt, JJ. 


Ind. No. 5403/15 Appeal No. 81 Case No. 2018-5073 

[*1]The People of the State of New York, Respondent,
vCharles Patterson, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Paul Wiener of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Conor E. Byrnes of counsel), for respondent.



Judgment, Supreme Court, New York County (Mark Dwyer, J.), rendered on August 3, 2018, convicting defendant, upon his plea of guilty, of criminal possession of a forged instrument in the second degree, and sentencing him to three years' probation, unanimously affirmed.
The court properly denied defendant's suppression motion without a hearing. Defendant failed to allege facts supporting a finding that the store employee who detained and searched him was a state actor. The felony complaint and voluntary disclosure form disclosed sufficient information about the security guard, including his specific job title ("loss prevention agent"), the name and location of the store, and the precise date and time at which the guard encountered defendant, to have enabled defendant to subpoena records and learn the guard's status (see People v Robertson, 167 AD3d 451 [1st Dept 2018], lv denied 33 NY3d 953 [2019]). Defendant did not allege that the guard, or anyone else employed by the store, was a licensed special police officer, and defendant's claim that the guard "likely" acted at the direction of the police was speculative and vague. In addition, the court offered defendant the opportunity to renew the motion if new facts were discovered, but defendant pleaded guilty immediately after the court rendered its decision.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 20, 2023








